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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

CHRISTOPHER C. JOHNSON

Plaintiff(s)
v

\ Civil Action No. —3:24-cv-05071-TMC
AMSHER COLLECTION SERVICES INC

Nee Ne ee eee eee ae ae

Defendant(s)

SUMMONS IN A CIVIL ACTION

AMSHER COLLECTION SERVICES INC.

C/O REGISTERED AGENT CORPORTATION SERVICE COMPANY
300 DESCHUTES WAY SW. STE 208

TUMWATER, WA 98501

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are: CHRISTOPHER C. JOHNSON

5613 121ST STREET COURT E APT #1
PUYALLUP, WA 98373

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Signature of Clerk or Deputy Clévs

arcs

